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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                WAYCROSS DIVISION

UNITED STATES OF AMERICA,

       v.                                             Case No. 5:21-cr-00009-LGW-BWC-5
JC LONGORIA CASTRO


    DEFENDANT JC LONGORIA CASTRO’S OPPOSITION TO GOVERNMENT’S
          MOTION TO MAINTAIN CUSTODY OF SEIZED PROPERTY

       Defendant JC Longoria Castro (“Mr. Castro”), by and through undersigned counsel,

opposes the Government’s Motion to Maintain Custody of the Seized Property (ECF No. 98).

Pursuant to this Court’s Order on December 9, 2021 (ECF No. 210), Mr. Longoria respectfully

submits his Opposition in a timely manner.

       At this point, Mr. Castro cannot agree that the government has made a requisite showing

that it is entitled to maintain custody of the property seized from Mr. Castro during the execution

of the search warrant. This Court set a response date of December 17, 2021, and in order to comply,

Mr. Castro is filing this response. Because Mr. Castro does not have discovery and lacks sufficient

information to make a fully informed argument to oppose the government’s motion, Mr. Castro

asks this Court for leave to file a Motion for Return of Property pursuant to Federal Rule of

Criminal Procedure 41(g) at a future time.

                                        BACKGROUND

       On October 5, 2021, a federal grand jury returned an indictment charging Mr. Castro and

23 other defendants for several offenses including, violations of 18 U.S.C. § 1349 (Conspiracy to

Commit Mail Fraud), 18 U.S.C. § 1341 (Mail Fraud), 18 U.S.C. § 1594 (Conspiracy to Engage in

Forced Labor, 18 U.S.C. § 1589 (Forced Labor), and 18 U.S.C § 1956(h) (Conspiracy to Commit

Money Laundering). See ECF No. 3. The indictment contained forfeiture allegations pursuant 18
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U.S.C. §§§ 981(a)(1)(C), 982(a)(1), 1594(d), and 28 U.S.C. § 2461(c), which provides for the

forfeiture of any property resulting from the alleged offenses or any proceeds traceable to the

alleged violations. See id. In addition, the indictment included a provision for the forfeiture of

substitute assets if the tainted assets cannot be located. See id.

        On November 17, 2021, a federal search warrant was executed on Mr. Castro’s residence.

According to the government’s motion, the government seized the following currency related to

Mr. Castro:

         $9,302.00 in U.S. currency seized from JC Castro at 1537 Tom Odum Rd, Vidalia, GA;

         $6,000.00 in U.S. currency seized from JC Castro at 1537 Tom Odum Rd, Vidalia, GA;

           and

         $1,616.00 in U.S. currency seized from JC Castro at 1537 Tom Odum Rd, Vidalia, GA;

ECF No. 98 at 3-4. Based on the above, the government’s motion appears to indicate that this

money was seized from Mr. Castro. However, that is not an accurate characterization as Mr. Castro

was not present during the execution of the search warrant—he was in the Bainbridge, Georgia

area at the time of the search, which is approximately four hours from his home and he self-

surrendered after he learned of the existence of the Indictment. In addition, the Court should be

aware that the $6,000.00 in currency was referenced above was seized from a Dodge Charger,

which was parked on Mr. Castro’s property. This vehicle is owned by Mr. Castro’s son’s girlfriend

who is not related to Mr. Castro by blood or marriage. While the currency was seized, the vehicle

the currency was found in was not seized. There can be no connection between these assets and

the alleged criminal activity, and, therefore, the $6,000.00 must, we submit, be returned to its

lawful owner forthwith.




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        In addition, the government seized two vehicles from Mr. Castro’s property. However, the

government simply lists all the vehicles seized and does not signify which vehicle was seized from

which property or defendant. The two vehicles seized from Mr. Castro’s residence were:

         a 2011 Ford SRW Super Duty, VIN 1FTBF2BT6BED04675; and

         a 2015 Jeep Wrangler Sahara, VIN 1C4GJWBG2FL697235.

These were the two vehicles seized from Mr. Castro’s property. However, while these vehicles

may be titled in Mr. Castro’s name, they actually belong to his children. For example, the Jeep

Wrangler is only used by Mr. Castro’s daughter and is used to drive back and forth to college each

day. The Ford truck was purchased for Mr. Castro’s son to drive and he is the only one to drive

that vehicle consistently. These vehicles were not used by Mr. Castro and were gifts to his children

for their sole use.

        Subsequent to the search, on November 23, 2021, the government filed a motion to

maintain custody of the seized property. See ECF No. 98. This Court ordered a response to that

Motion by today, December 17, 2021. See ECF No. 210.

                                          ARGUMENT

        At this time, Mr. Castro has not received any discovery from the government. Therefore,

Mr. Castro does not have sufficient information at this time to fully oppose the government’s

motion. While Mr. Castro generally opposes the appropriateness of the government’s maintained

custody of the property seized from his residence, Mr. Castro reserves the right to make those

arguments and file a Motion for Return of Property pursuant to Federal Rule of Criminal Procedure

41(g) at the appropriate time.

        Nevertheless, the Fourth Amendment requires that a search warrant affidavit must

“establish a connection between the defendant and the residence to be searched and a link between




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the residence and any criminal activity.” United States v. Martin, 297 F.3d 1308, 1314 (11th Cir.

2002). “The nexus between the objects to be seized and the premises searched can be established

from the particular circumstances involved and need not rest on direct observation.” United States

v. Jenkins, 901 F.2d 1075, 1080 (11th Cir. 1990). In addition, in order for the government “to be

entitled to forfeiture of substitute property, the Government must demonstrate that the property

subject to forfeiture is unavailable due to an act or omission by Defendant.” United States v.

Tardon, 56 F. Supp. 3d 1309, 1321 (S.D. Fla. 2014).

       While Mr. Castro does not have the full information available to oppose the government’s

motion, at least one amount of the currency and the two vehicles do not belong to Mr. Castro. The

vehicles that were seized were titled in Mr. Castro’s name, but were gifts to his children and were

only used by the children. In addition, the $6,000.00 seized belonged to Mr. Castro’s son’s

girlfriend and was in her vehicle, which was merely parked at Mr. Castro’s residence at the time

of the search warrant. There cannot be a nexus between this sum of currency and any alleged

activities of Mr. Castro as the currency belonged to his son’s girlfriend and not Mr. Castro. In

addition, it does not appear that the government has established an appropriate nexus between the

vehicles seized and the criminal activity at issue because those items belonged to Mr. Castro’s

children, not Mr. Castro. Therefore, Mr. Castro opposes the continued seizure of the property and

reserves the right to file a motion for its return when he has more information to detail that position

more fully.


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                                           CONCLUSION

        As discussed above, Mr. Castro opposes the government’s motion and requests leave to

file a motion for the return of property at a later date.

        Respectfully submitted this 17th day of December, 2021.

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                                CERTIFICATE OF SERVICE

       I hereby certify that I have electronically filed the foregoing with the Clerk of Court using

the CM/ECF system which will automatically send email notification of such filing to the attorneys

of record.

       This 17th day of December, 2021.

                                        NEXSEN PRUET, LLC

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